Case 3:18-cv-01446-SMY Document 60 Filed 04/08/19 Page 1 of 44 Page ID #311


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

JONATHON MESKAUSKAS, #R-44760, )
                               )
           Plaintiff,          )
                               )
     -vs-                      )                            No. 18-1446
                               )
JEANETTE COWAN, et al.,        )
                               )
           Defendants.         )

    DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S
                    FIRST AMENDED COMPLAINT

       NOW COME the Defendants, JOHN A. BAKER, ERIC J. CAMPBELL, AARON

R. HOOD, DANIEL S. LEE, CHRISTOPHER LINDSEY, SHYLER J. MATHIS, DANIEL

A. MURPHY, BRANDON ROLAND, JONATHAN STERNBERG, JOSEPH SMITH,

CHRISTOPHER WEHRENBERG, GEORGE WELBORN, and JAMES WILLIS, by and

through their attorney, Kwame Raoul, Attorney General of the State of Illinois, and for their

Answer to Plaintiff’s Amended Complaint [Doc. 37] state as follows:




RESPONSE: Defendants deny the Court has jurisdiction over this matter pursuant to 28

U.S.C. § 1367.




                                                1
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RESPONSE: Defendants admit Plaintiff is currently an inmate of the Illinois Department

of Corrections and is housed at Pontiac Correctional Center.




RESPONSE: Defendants admit Defendant Jeanette Cowan was an employee of IDOC and

at all times relevant to this Complaint was assigned to Menard Correctional Center

(“Menard”).




RESPONSE: Defendants admit Defendant Jeffrey Gardiner was an employee of IDOC and

at all times relevant to this Complaint was assigned to Menard.




                                             2
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RESPONSE: Defendants admit Defendant Debbie Knauer was an employee of IDOC and

was Chairperson of the Administrative Review Board at all times relevant to this

Complaint.




RESPONSE: Defendants admit Defendant Jeffrey Hutchinson was an employee of IDOC

and retired as Warden of Menard in December of 2016.




                                            3
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RESPONSE: Defendants admit Defendant Jacqueline Lashbrook was an employee of

IDOC and was Warden at Menard at all times relevant to this Complaint.




RESPONSE: Defendants admit Defendant John R. Baldwin was an employee of IDOC and

was Acting Director of IDOC at all times relevant to this Complaint.




RESPONSE: Defendants admit Defendant Brad Bramlet was an employee of IDOC and

was assigned to Menard at all times relevant to this Complaint.




                                             4
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RESPONSE: Defendants admit Defendant James Willis was an employee of IDOC at all

times relevant to this Complaint, and, pursuant to IDOC records, was assigned to Tower

Four at Menard on February 28, 2017.




RESPONSE: Defendants admit Defendant Joseph Smith was an employee of IDOC at all

times relevant to this Complaint, and, pursuant to IDOC records, was assigned as the

East/West Yard Officer on February 28, 2017.




                                           5
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RESPONSE: Defendants admit Defendant George Welborn was an employee of IDOC at all

times relevant to this Complaint, and, pursuant to IDOC records, was assigned as the East

Lieutenant on February 28, 2017.




RESPONSE: Defendants admit Defendant Scott Minh was an employee of IDOC at all times

relevant to this Complaint, and, pursuant to IDOC records, was assigned as the Movement

Lieutenant on February 28, 2017. Defendants lack knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in this paragraph.




                                              6
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RESPONSE: Defendants admit Defendant Christopher Wehrenberg was an employee of

IDOC at all times relevant to this Complaint, and, pursuant to IDOC records, was assigned

as the East Sergeant on February 28, 2017. Defendants lack knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in this paragraph.




RESPONSE: Defendants admit Defendant Aaron Hood was an employee of IDOC at all

times relevant to this Complaint, and, pursuant to IDOC records, was assigned as the East

Level E Escort on February 28, 2017. Defendants lack knowledge or information sufficient

to form a belief as to the truth of the remaining allegations in this paragraph.



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RESPONSE: Defendants admit Defendant Daniel Lee was an employee of IDOC at all times

relevant to this Complaint, and, pursuant to IDOC records, was assigned as the East 1/2

Gallery Officer on February 28, 2017. Defendants lack knowledge or information sufficient

to form a belief as to the truth of the remaining allegations in this paragraph.




RESPONSE: Defendants admit Defendant Christopher Lindsey was an employee of IDOC

at all times relevant to this Complaint, and, pursuant to IDOC records, was assigned as the

East 3/5 Gallery Officer on February 28, 2017. Defendants lack knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in this paragraph.




                                               8
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RESPONSE: Defendants admit Defendant Daniel Murphy was an employee of IDOC at all

times relevant to this Complaint, and, pursuant to IDOC records, was assigned as the East

4/6 Gallery Officer on February 28, 2017. Defendants lack knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in this paragraph.




RESPONSE: Defendants admit Defendant Shyler Mathis was an employee of IDOC at all

times relevant to this Complaint, and, pursuant to IDOC records, was assigned as the East

7/9 Gallery Officer on February 28, 2017. Defendants lack knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in this paragraph.



                                               9
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RESPONSE: Defendants admit Defendant Eric Campbell was an employee of IDOC at all

times relevant to this Complaint, and, pursuant to IDOC records, was assigned as the East

8/10 Gallery Officer on February 28, 2017. Defendants lack knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in this paragraph.




RESPONSE: Defendants admit Defendant John Baker was an employee of IDOC at all times

relevant to this Complaint, and, pursuant to IDOC records, was assigned as the East

Escort/Sanitation Officer on February 28, 2017. Defendants lack knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in this paragraph.




                                              10
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RESPONSE: Defendants admit Defendant Brandon Roland was an employee of IDOC at all

times relevant to this Complaint, and, pursuant to IDOC records, was assigned to the East

Cellhouse as a correctional officer in training on February 28, 2017. Defendants lack

knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in this paragraph.




RESPONSE: Defendants admit Defendant Jonathan Sternberg was an employee of IDOC at

all times relevant to this Complaint, and, pursuant to IDOC records, was assigned to the East

Cellhouse as a correctional officer in training on February 28, 2017. Defendants lack

knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in this paragraph.
                                             11
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RESPONSE: Defendants admit Defendant Raymond Allen was an employee of IDOC and

was assigned to Menard at all times relevant to this Complaint.




RESPONSE: Defendants admit Defendant Kyle Brumleve was an employee of IDOC and

was assigned to Menard at all times relevant to this Complaint.




RESPONSE: Defendants admit Defendant George Dudzinski was an employee of IDOC and

was assigned to Menard at all times relevant to this Complaint.


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RESPONSE: Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations set forth in this paragraph pertaining to Plaintiff’s litigation history

while in IDOC custody.




RESPONSE: Defendants admit there is a grievance procedure at Menard. Defendants admit

that Plaintiff appealed the denial of his protective custody request on December 1, 2016.

Defendants admit the Administrative Review Board (“ARB”) held a video conference

                                               15
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pertaining to Plaintiff’s protective custody denial on February 23, 2017, and found that

Plaintiff had not provided sufficient, verifiable information to justify placement in Protective

Custody. Defendants lack knowledge or information sufficient to form a belief about the

truth of the remaining allegations in this paragraph.




RESPONSE: Defendants admit that Plaintiff filed grievances dated March 12, 2017 and July

31, 2017. Defendants deny Plaintiff filed a grievance dated April 16, 2017. Defendants admit
                                              16
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Plaintiff discussed the grievance procedure with Counselor Price on April 7, 2017.

Defendants lack knowledge or information sufficient to form a belief about the truth of the

remaining allegations in this paragraph.




RESPONSE: Defendants admit Plaintiff appealed the denial of his grievance dated July 31,

2017. Defendants lack knowledge or information sufficient to form a belief about the

remaining allegations in this paragraph.

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RESPONSE: Defendants deny any John Doe Defendants are named in the instant

Complaint. Defendants deny Plaintiff has exhausted his administrative remedies. Defendants

lack knowledge or information sufficient to form a belief about the remaining allegations in

this paragraph.




RESPONSE: Defendants admit Plaintiff sent the denial of his protective custody to the

Administrative Review Board (“ARB”), which was received on December 8, 2016.

Defendants further admit the ARB held a video conference with Plaintiff pertaining to his

                                            18
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grievance on February 23, 2017 and denied his grievance. Defendants deny Plaintiff has

exhausted his administrative remedies. Defendants lack knowledge or information sufficient

to form a belief about the remaining allegations in this paragraph.




RESPONSE: Defendants deny that the prisoner grievance procedure at Menard does not

apply. Defendants admit Plaintiff attached Exhibits A through H to his Amended Complaint.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in this paragraph.




                                             19
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RESPONSE: Defendants admit Menard Correctional Center is a maximum security prison

located in Chester, Illinois. Defendants lack knowledge or information sufficient to form a

belief about the remaining allegations in this paragraph.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations contained in this paragraph.




RESPONSE: Defendants admit there is security threat group or “STG” activity at

Menard. Defendants lack knowledge or information sufficient to form a belief about the

truth of the remaining allegations contained in this paragraph.




RESPONSE: Defendants admit that certain security threat groups or “STGs” exist in

IDOC prison populations. Defendants further admit that one STG within the IDOC prison

system is known as the “Latin Folks.” Defendants lack knowledge or information sufficient

to form a belief about the remaining allegations in this paragraph.
                                             20
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RESPONSE: Defendants admit knowledge of a Latin Folks policy pertaining to “off-count”

members of the STG not being allowed in general population. Defendants lack knowledge

or information sufficient to form a belief about the truth of the remaining allegations in

this paragraph.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.




                                              21
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RESPONSE: Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.




RESPONSE: Defendants admit Plaintiff was transferred from Stateville Correctional

Center to Menard on November 18, 2016, and was housed in cell 312 in West House at

Menard.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.




                                              22
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RESPONSE: Defendants admit Plaintiff was relocated to protective custody on November

21, 2016. Defendants lack knowledge or information sufficient to form a belief about the

truth of the remaining allegations in this paragraph.




RESPONSE: Defendants admit Plaintiff was relocated to protective custody on November

21, 2016. Defendants admit that upon his arrival in protective custody, Plaintiff was

interviewed by Defendants Jeanette Cowan and Jeffrey Gardiner regarding his request for

placement in protective custody.




RESPONSE: Defendants admit Plaintiff alleged on his protective custody request that he

was “off-count” and was concerned that he would be threatened by members of STGs.


                                             23
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Defendants lack knowledge or information sufficient to form a belief about the remaining

allegations in this paragraph.




RESPONSE: Defendants admit knowledge of a Latin Folks policy pertaining to “off-count”

members of the STG not being allowed in general population. It is unclear what Plaintiff

means by every Defendant being “well aware of the policy type allegations outlined above”

and as such, Defendants lack knowledge or information sufficient to form a belief about the

remaining allegations in this paragraph.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief about

the allegations contained in this paragraph.




                                               24
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RESPONSE: Defendants deny being aware of any serious threat to Plaintiff’s safety.

Pursuant to IDOC records, Defendants admit Defendants Cowan and Gardiner denied

Plaintiff’s protective custody request. Defendants admit Defendant Hutchison concurred in

the recommendation of denial of Plaintiff’s protective custody request.




RESPONSE: Defendants admit Plaintiff appealed the denial of his protective custody

request to the ARB on December 1, 2016.




RESPONSE: Defendants admit Plaintiff was housed in North 2 at Menard in early

January of 2017. Defendants lack knowledge or information sufficient to form a belief

about the remaining allegations in this paragraph.

                                            25
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RESPONSE: Defendants admit the ARB, chaired by Defendant Knauer, held a video

conference hearing pertaining to Plaintiff’s appeal of his protective custody denial on

February 23, 2017.




RESPONSE: Defendants admit Plaintiff mentioned two individuals named “DC” and

“JR”, who allegedly reiterated the Latin Folk policy of being “off-count”, during his

hearing with the ARB. Defendants lack knowledge or information sufficient to form a

belief about the truth of the remaining allegations in this paragraph.




RESPONSE: Defendants admit Plaintiff alleged, during his interview with the ARB, that

requesting protective custody made him “a target” by members of the Latin Folks STG.


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Defendants lack knowledge or information sufficient to form a belief about the remaining

allegations in this paragraph.




RESPONSE: Defendants deny that there was any “substantial risk” to Plaintiff.

Defendants deny that Plaintiff presented any actual, verifiable evidence of a credible threat

to his safety. Defendants admit Defendant Baldwin, or his assignee, concurred with the

decision to deny Plaintiff’s grievance on February 27, 2017.




RESPONSE: Defendants admit Plaintiff was moved from protective custody on

February 28, 2017, and placed in East House cell 901. Defendants deny being aware of any

substantial risk to Plaintiff’s safety. Defendants lack knowledge or information sufficient to

form a belief about the remaining allegations in this paragraph. Defendants deny violating

Plaintiff’s rights whatsoever.




                                             27
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RESPONSE: Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.




                                              28
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RESPONSE: Defendant Willis denies ignoring any threat to Plaintiff’s safety. Defendant

Willis further denies stating “I don’t give a shit” to Plaintiff. Defendant Willis lacks

knowledge or information sufficient to form a belief about the truth of the remaining

allegations in this paragraph. The remaining Defendants lack knowledge or information

sufficient to form a belief about the truth of the allegations in this paragraph.




RESPONSE: Defendants admit the incident occurred at the end of yard period. Defendants

lack knowledge or information sufficient to form a belief about the truth of the remaining

allegations in this paragraph.




                                               29
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RESPONSE: Defendants admit only one other inmate was involved in the incident with

Plaintiff. Defendants lack knowledge or information sufficient to form a belief about the

truth of the remaining allegations in this paragraph.




                                             30
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RESPONSE: Pursuant to IDOC records, Defendants admit that no OC spray was used

during the incident. Defendants deny standing and watching the Plaintiff get punched

repeatedly. Defendants lack knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in this paragraph.




RESPONSE: Defendants lack knowledge or information with regard to the actions of

Defendant Allen. Defendants lack knowledge or information sufficient to form a belief as to

the truth of the remaining allegations in this paragraph.




                                             31
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RESPONSE: Defendants admit that, according to HealthCare Unit records, Plaintiff was

seen at the HealthCare Unit on February 28, 2017 and that Plaintiff was diagnosed as

having sciatica on September 12, 2017 by Nurse Moldenhauer. Defendants further admit

that Plaintiff was diagnosed with mild degenerative disc disease by Dr. Yousuf on

November 29, 2017. Defendants lack knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in this paragraph.




RESPONSE: Pursuant to IDOC records, Defendants admit Plaintiff was moved to a cell in

the North 2 segregation unit at Menard on February 28, 2017.
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RESPONSE: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph.




RESPONSE: Pursuant to IDOC records, Defendants admit that Plaintiff did not fight back

during the incident. Defendants admit Plaintiff was placed in a cell in the North 2 unit on

February 28, 2017. Defendants lack knowledge or information sufficient to form a belief as

to the truth of the remaining allegations in this paragraph.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph.


                                              33
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RESPONSE: Defendants lack knowledge or information sufficient to form a belief about

the truth of the remaining allegations in this paragraph.




RESPONSE: Pursuant to IDOC records, Defendants admit Plaintiff was seen in the

Healthcare Unit on March 18, 2017. Defendants lack knowledge or information sufficient

to form a belief as to the truth of the remaining allegations in this paragraph.




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RESPONSE: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph.




RESPONSE: Pursuant to IDOC records, Defendants admit Plaintiff was released from

North 2 segregation on March 14, 2017. Defendants admit that Plaintiff did not receive a

disciplinary ticket related to the incident on February 28, 2017. Defendants lack knowledge

or information sufficient to form a belief about the truth of the remaining allegations in

this paragraph.



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RESPONSE: Defendants deny the allegations in this paragraph.




RESPONSE: Defendants deny the allegations in this paragraph.




RESPONSE: Defendants admit that they act under the color of state law in the

performance of their official duties. Defendants admit that they are being sued in their

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individual capacities. Defendants deny that they are liable to Plaintiff.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph.




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RESPONSE: Defendants deny the allegations in this paragraph as they pertain to them.

Defendants lack knowledge or information sufficient to form a belief as to the remaining

allegations in this paragraph.




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RESPONSE: Defendants deny the allegations in this paragraph.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph.




                                              39
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RESPONSE: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph.




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RESPONSE: Defendants deny violating Plaintiff’s rights. Defendants deny that Plaintiff is

entitled to any relief.

                                         JURY DEMAND

Defendants demand a trial by jury.

                                  AFFIRMATIVE DEFENSES

       1.      Qualified Immunity.

       At all times relevant to the Plaintiff’s claims, defendants charged herein acted in good faith

in the performance of their official duties without violating Plaintiff’s clearly established statutory

or constitutional rights of which a reasonable person would have known. Defendants are therefore

protected from liability by the doctrine of qualified immunity.

       2.      Sovereign Immunity

       To the extent that Plaintiff’s claims against Defendants are in their official capacity, the

claims are barred by the doctrine of sovereign immunity.

       3.      Failure to Exhaust Administrative Remedies

       Plaintiff has filed suit concerning a prison conditions while in the Department of

Corrections. Plaintiff has failed to properly exhaust his administrative remedies as required prior

to filing suit under 42 U.S.C. § 1983. His claims are bared by the Prison Litigation Reform Act
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(42 U.S.C. § 1997)(e)(a)), Perez v. Wisconsin Dept. of Corrections 182 F. 3d 532 (7th Cir. 1999),

and Kalinowski v. Bond, et al., 358 F. 3d 978 (7th Cir. 2004).

         4.     Mental or Emotional Damages Barred

         No Federal action may be brought by a prisoner confined in a jail, prison, or other

   correctional facility, for mental or emotional injury suffered while in custody without a prior

   showing of physical injury.” 42 U.S.C. 1997e(e). Plaintiff has not alleged that he has been

   physically harmed by Defendants in any way.

         5.     State Law Sovereign Immunity

         Defendants were acting within the scope of their employment, which, if established, means

that the tort claims against Defendants are barred by the immunity provided in the State Lawsuit

Immunity Act. The State Lawsuit Immunity Act, 745 ILCS 5/1 et seq. (West 2018), provides for

sovereign immunity in Illinois and prevents suits against the State or its employees except as

provided by the Court of Claims Act. 705 ILCS 505/8 (West 2018). The Court of Claims is the

exclusive forum for resolving lawsuits against the State of Illinois or employees acting within the

scope of their employment for certain actions, including tort actions. 705 ILCS 505/8(d) (West

2018).

         6.     Public Official Immunity

         At all times relevant to the Complaint, Defendant was performing official discretionary

duties in good faith and therefore he is entitled to Public Official Immunity.

                                             CONCLUSION

         WHEREFORE, for the above and foregoing reasons, Defendants respectfully request this

honorable Court enter judgment in their favor and deny any relief to Plaintiff.


                                              Respectfully submitted,

                                              JOHN A. BAKER, ERIC J. CAMPBELL, AARON
                                              R. HOOD, DANIEL S. LEE, CHRISTOPHER
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                                   LINDSEY, SHYLER J. MATHIS, DANIEL A.
                                   MURPHY, BRANDON ROLAND, JONATHAN
                                   STERNBERG, JOSEPH SMITH, CHRISTOPHER
                                   WEHRENBERG, GEORGE WELBORN, and
                                   JAMES WILLIS,

                                          Defendants,

Megan Ditzler, #6318052            KWAME RAOUL, Illinois Attorney General,
Assistant Attorney General
500 South Second Street                   Attorney for Defendants,
Springfield, Illinois 62701
(217) 557-0261 Phone               By: s/ Megan Ditzler
(217) 524-5091 Fax                     Megan Ditzler
Email: mditzler@atg.state.il.us        Assistant Attorney General




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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

JONATHON MESKAUSKAS, #R-44760, )
                               )
           Plaintiff,          )
                               )
     -vs-                      )                            No. 18-1446
                               )
JEANETTE COWAN, et al.,        )
                               )
           Defendants.         )

                                CERTIFICATE OF SERVICE

        I hereby certify that on April 8, 2019, the foregoing document, Answer and Affirmative
Defenses to Plaintiff’s Amended Complaint, was electronically filed with the Clerk of the Court
using the CM/ECF system which will send notification of such filing to the following:

                                             NONE

and I hereby certify that on the same date, I caused to be mailed by United States Postal Service,
a copy of the foregoing document to the following non-registered participant:

                                Jonathon Meskauskas, #R-44760
                                  Pontiac Correctional Center
                                      Inmate Mail/Parcels
                                    700 West Lincoln Street
                                          PO Box 99
                                       Pontiac, IL 61764


                                                    Respectfully submitted,

                                                      s/Megan Ditzler
                                                    Megan Ditzler, #6318052
                                                    Assistant Attorney General
                                                    500 South Second Street
                                                    Springfield, Illinois 62701
                                                    (217) 557-0261 Phone
                                                    (217) 524-5091 Fax
                                                    mditzler@atg.state.il.us




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